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 7
 8                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 9                                    OAKLAND DIVISION
10
       TREVOR BARNES and STEPHANIE                         Case No. 4:22-cv-4299
11     BROWN, individually and on behalf of all
       others similarly situated,
12                                                         COMPLAINT FOR INJUNCTION
                                                           AND DAMAGES
13                             Plaintiff,
14               v.
                                                           Class Action
15
       SUNPOWER CORPORATION,
16                                                         JURY TRIAL DEMAND

17                             Defendant.
18
19          Plaintiffs Trevor Barnes (“Mr. Barnes”) and Stephanie Brown (“Ms. Brown”), by their
20   undersigned counsel, for this complaint against Defendant SunPower Corporation (“SunPower”)
21   and their present, former and future direct and indirect parent companies, subsidiaries, affiliates,
22   agents and related entities, allege as follows:
23
24                                          I.   INTRODUCTION
25
            1.        Nature of Action: As the Supreme Court has explained, “Americans passionately
26
     disagree about many things. But they are largely united in their disdain for robocalls. The
27
     Federal Government receives a staggering number of complaints about robocalls—3.7 million
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     complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly
 1
 2   30 years, the people’s representatives in Congress have been fighting back. As relevant here, the

 3   Telephone Consumer Protection Act of 1991, known as the TCPA, generally prohibits robocalls
 4
     to cell phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct. 2335,
 5
     2343 (2020).
 6
             2.       This case involves a campaign by SunPower to market its solar services through
 7
 8   the use of pre-recorded telemarketing calls in plain violation of the Telephone Consumer

 9   Protection Act, 47 U.S.C. § 227 et seq. (hereinafter referred to as the “TCPA”), such as a call to
10
     Ms. Brown on May 31, 2022.
11
             3.       Moreover, SunPower made prerecorded telemarketing calls to cellular telephone
12
     numbers like Mr. Barnes’, that were registered on that National Do Not Call Registry.
13
14           4.       This case is not SunPower’s first time standing accused of violating the TCPA on

15   a systematic basis. See Fabricant v. SunPower Corporation, 4:20-cv-00114-PJH, NDCA, San
16
     Jose Division.
17
                                                II.   PARTIES
18
             5.       Plaintiff Barnes is an individual residing in Hawthorne, California.
19
20           6.       Plaintiff Brown is an individual residing in Lakeland, Florida

21           7.       SunPower is a corporation.
22
             8.       It is a Delaware corporation.
23
             9.       Its principal place of business is 51 Rio Robles, San Jose, California 95134, in
24
     this District.
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 1                                III.     JURISDICTION AND VENUE
 2          10.     Jurisdiction: This Court has federal-question subject matter jurisdiction over
 3   Plaintiff’ TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. 47
 4   U.S.C. § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). The Court has
 5   supplemental jurisdiction over Plaintiff’ CIPA claims pursuant to 28 U.S.C. § 1367 because the
 6   CIPA violations are so related to the TCPA violations—arising from the same telemarketing—as
 7   to form part of the same case or controversy.
 8          11.     Personal Jurisdiction: This Court has personal jurisdiction over Defendant
 9   because: (A) they are headquartered in California; and (B) their conduct at issue was organized
10   from their California headquarters;
11          12.     Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2)
12   because a substantial part of the events giving rise to Plaintiff’ claims—namely, the direction of
13   the illegal telemarketing from Sunrun’s headquarters—occurred in this District.
14          13.     Intradistrict Assignment: Assignment to this Division is proper pursuant to Civil
15   Local Rule 3-2(c) because a substantial part of the events or omissions that give rise to Plaintiff’
16   claims—namely, the direction of the illegal telemarketing and illegal recording from Defendant’s
17   headquarters—occurred in San Francisco.
18                                             IV.     FACTS
19   A.     The Enactment of the TCPA and its Regulations
20          14.     Robocalls Outlawed: Enacted in 1991, the TCPA makes it unlawful “to make any
21   call (other than a call made for emergency purposes or made with the prior express consent of
22   the called party) using an automatic telephone dialing system or an artificial or prerecorded voice
23   … to any telephone number assigned to a … cellular telephone service.” 47 U.S.C. § 227(b)(1).
24   Calls made by an ATDS or with a prerecorded or artificial voice are referred to as “robocalls” by
25   the Federal Communications Commission (“FCC”) and herein. Encouraging people to hold
26   robocallers accountable on behalf on their fellow Americans, the TCPA provides a private cause
27   of action to persons who receive such calls. 47 U.S.C. § 227(b)(3).
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 1          15.     Rationale: In enacting the TCPA, Congress found: “Evidence compiled by the
 2   Congress indicates that residential telephone subscribers consider automated or prerecorded
 3   telephone calls, regardless of the content or the initiator of the message, to be a nuisance and an
 4   invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105
 5   Stat. 2394 § 2(10). Congress continued: “Banning such automated or prerecorded telephone calls
 6   to the home, except when the receiving party consents to receiving the call or when such calls are
 7   necessary in an emergency situation affecting the health and safety of the consumer, is the only
 8   effective means of protecting telephone consumers from this nuisance and privacy invasion.” Id.
 9   § 2(12).
10          16.     The TCPA’s sponsor described unwanted robocalls as “the scourge of modern
11   civilization. They wake us up in the morning; they interrupt our dinner at night; they force the
12   sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.” 137
13   Cong. Rec. 30,821 (1991) (statement of Sen. Hollings).
14          17.     Prior Express Written Consent: The FCC has made clear that “prior express
15   written consent” is required before making telemarketing robocalls to wireless numbers.
16   Specifically, it ordered:
17
            [A] consumer’s written consent to receive telemarketing robocalls must be
18          signed and be sufficient to show that the consumer: (1) received clear and
            conspicuous disclosure of the consequences of providing the requested
19          consent, i.e., that the consumer will receive future calls that deliver
            prerecorded messages by or on behalf of a specific seller; and (2) having
20
            received this information, agrees unambiguously to receive such calls at a
21          telephone number the consumer designates. In addition, the written
            agreement must be obtained without requiring, directly or indirectly, that
22          the agreement be executed as a condition of purchasing any good or
            service.
23
24
     In the Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act of
25
     1991, 27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote omitted) (internal quotation marks
26
     omitted).
27
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 1          18.     Do Not Call Registry: Additionally, the TCPA outlaws unsolicited telemarketing
 2   (robocalls or otherwise) to phone numbers on the National Do Not Call Registry. 47 U.S.C. §
 3   227(c); 47 C.F.R. § 64.1200(c)(2). Encouraging people to hold telemarketers accountable on
 4   behalf on their fellow Americans, the TCPA provides a private cause of action to persons who
 5   receive such calls. 47 U.S.C. § 227(c)(5).
 6
 7   B.     Defendant’s Unsolicited, Automated Telemarketing to Plaintiff Barnes
 8          19.     Plaintiffs are, and at all times mentioned herein were, “persons” as defined by
 9   47 U.S.C. § 153(39).
10          20.     Plaintiff’s residential telephone number is (323) 333-XXXX.
11          21.     That number has been on the National Do Not Call Registry for more than 31
12   days prior to June 2, 2022 and it has not been removed from the Registry since that time.
13          22.     Mr. Barnes uses the number for personal, residential, and household reasons.
14          23.     The number is not associated with any business.
15          24.     Plaintiff Barnes never consented to receive calls from SunPower.
16          25.     He never gave SunPower his phone number to Sunpower.
17          26.     He never did business with SunPower.
18          27.     SunPower called the Mr. Barnes phone number twice on June 2, 2022 offering its
19   good or services.
20          28.     Mr. Barnes answered the first call and said he was not interested.
21          29.     The first call was from caller ID 385-398-XXXX.
22          30.     A later return call to that number to an entity that identified itself as Green Energy
23   Solutions.
24          31.     As Mr. Barnes was annoyed that he was receiving a second illegal call after
25   expressing his lack of interest, he played along in order to learn who was behind the calls and
26   whose goods or services were being offered.
27          32.     Mr. Barnes spoke to a woman named Lia Smith, who identified herself as
28   working for SunPower.
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 1          33.     Ms. Smith gave Mr. Barnes a call back number of 800-786-XXXX and then
 2   transferred him to the appointment department.
 3          34.     Mr. Barnes then spoke with an individual who identified himself as Richard
 4   Gomes.
 5          35.     Mr. Gomes stated that he wanted one of his salespeople, Patrick Hubbard, to call
 6   Mr. Barnes.
 7          36.     On June 3, 2022 and June 4, Mr. Barnes received live calls from Patrick Hubbard
 8   appearing on the caller ID.
 9          37.     Mr. Barnes did not answer either of those calls.
10
11   C.     Defendant’s Unsolicited, Automated Telemarketing to Plaintiff Brown
12
            38.     On May 31, 2022, Ms. Brown received a prerecorded phone call on her cellular
13
     telephone. Before the message played there was a pause and a click, which is indicative of an
14
     autodialed calls.
15
            39.     The prerecorded message stated that it was Brian Lee from “solar project” and
16
     stated if interested in solar panels, press a number.
17
            40.     In order to find our who as behind the illegal prerecorded call to her cell phone,
18
     Ms. Brown pressed the number and spoke with a woman named Sarah who gave her a call back
19
     number of 817-813-XXXX and made an appointment for June 1, 2022.
20
            41.     Ms. Brown additionally received a confirmatory text from 510-426-XXXX and a
21
     confirmatory email from solaradvisors@sunpower.com.
22
            42.     The ability of the caller to transfer Ms. Brown directly to Sarah at SunPower
23
     indicates that the caller either worked at SunPower or was previously authorized to the place the
24
     call by SunPower, as did the confirmatory text and email.
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 1   D.      The Nuisance Created by Defendant’s Automated Telemarketing
 2           43.      Before directing their automated telemarketing to them, Defendant never did
 3   anything to confirm that Plaintiffs had provided prior express written consent to their
 4   telemarketing, and Defendant knew or should have known that Plaintiffs had not provided prior
 5   express written consent to receive telemarketing calls promoting Defendant’s goods or services
 6   and that illegal telemarketing was conducted on behalf of Defendant.
 7           44.      The telemarketing alleged herein: (A) invaded Plaintiffs’ privacy and solitude; (B)
 8   wasted Plaintiffs’ time; (C) annoyed Plaintiffs; (D) tied up Plaintiffs’ phone lines; and (E)
 9   harassed Plaintiffs.
10                                V.    CLASS ACTION ALLEGATIONS
11           45.      Cellular Telephone Class Definition: Pursuant to Federal Rules of Civil Procedure
12   23(b)(2) and (b)(3), Plaintiff bring this case on behalf of two classes (each a “Class,”
13   collectively, the “Classes”). The first Class (the “Cellular Telephone Class”) is defined as
14   follows: All persons in the United States to whom: (A) Defendant, any of them and/or a third
15   party acting on any of their behalf made a pre-recorded call; to a cellular telephone number; (B)
16   using an artificial or prerecorded voice; from four years prior to the filing of the complaint to the
17   first day of trial.
18           46.      DNC Class Definition: The second Class (the “DNC Class”) is defined as follows:
19   All persons in the United States to whom: (A) Defendant, any of them and/or a third party acting
20   on any of their behalf sent a telemarketing call; (B) to a residential (including residential cellular)
21   telephone number listed on the NDNCR for at least 31 days before at least two of such
22   communications in a 12-month period; (C) from four years prior to the filing of the complaint to
23   the first day of trial.
24           47.      Exclusions: Excluded from the Classes are Defendant, any entity in which
25   Defendant has a controlling interest or that has a controlling interest in Defendant, Defendant
26   legal representatives, assignees, and successors, the judges to whom this case is assigned and the
27   employees and immediate family members of all of the foregoing.
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 1          48.       Numerosity: The Classes are so numerous that joinder of all their members is
 2   impracticable.
 3          49.       SunPower is among the largest solar energy companies in the United States.
 4          50.       SunPower is publicly traded.
 5          51.       Commonality: There are many questions of law and fact common to Plaintiffs and
 6   members of the Classes. Indeed, the very feature that makes Defendant’s conduct so annoying—
 7   its automated nature—makes this dispute amenable to classwide resolution. These common
 8   questions of law and fact include, but are not limited to, the following: (A) whether the calls
 9   were dialed en masse by a pre-recorded message; (B) whether Defendant’s desire to sell solar
10   goods and services constitutes an “emergency” within the meaning of the TCPA; (C) whether
11   Defendant had a pattern and practice of failing to obtain prior express written consent from
12   people to whom it directed telemarketing; (D) whether Defendant had a pattern and practice of
13   failing to remove numbers on the NDNCR from its telemarketing lists; and (E) whether
14   Defendant’s violations of the TCPA were knowing or willful.
15          52.       Typicality: Plaintiffs’ claims are typical of the claims of the Classes. Plaintiffs’
16   claims and those of the Classes arise out of the same course of conduct by Defendant and are
17   based on the same legal and remedial theories.
18          53.       Adequacy: Plaintiffs will fairly and adequately protect the interests of the Classes.
19   Plaintiffs have retained competent and capable counsel experienced in TCPA class action
20   litigation. Plaintiffs and their counsel are committed to prosecuting this action vigorously on
21   behalf of the Classes and have the financial resources to do so. The interests of Plaintiffs and
22   their counsel are aligned with those of the proposed Classes.
23          54.       Superiority: The common issues arising from this conduct that affect Plaintiffs
24   and members of the Classes predominate over any individual issues, making a class action the
25   superior means of resolution. Adjudication of these common issues in a single action has
26   important advantages, including judicial economy, efficiency for Class members and classwide
27   res judicata for Defendant. Classwide relief is essential to compel Defendant to comply with the
28   TCPA. The interest of individual members of the Classes in individually controlling the
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 1   prosecution of separate claims against Defendant is small because the damages in an individual
 2   action (up to $1,500 per violation) are dwarfed by the cost of prosecution.
 3                              VI. FIRST CLAIM FOR RELIEF
     (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)—Prerecorded
 4
      Calls to Cellular Phones On Behalf of Plaintiff and the Cellular Telephone Class--Plaintiff
 5                                             Brown)

 6          55.     Plaintiff Brown realleges and incorporates by reference each and every allegation

 7   set forth in the preceding paragraphs.

 8          56.     Defendant and/or its affiliates or agents violated the TCPA, 47 U.S.C. §

 9   227(b)(1), by placing non-emergency calls to the cellular telephone numbers of Plaintiff and

10   members of the Cellular Telephone Class using an artificial or prerecorded voice without prior

11   express written consent.

12          57.     Plaintiff Brown and members of that Class are entitled to an award of $500 in

13   damages for each such violation. 47 U.S.C. § 227(b)(3)(B).

14          58.     Plaintiff Brown and members of that Class are entitled to an award of up to

15   $1,500 in damages for each such knowing and/or willful violation. 47 U.S.C. § 227(b)(3).

16          59.     Plaintiff Brown and members of that Class are also entitled to and do seek an

17   injunction prohibiting Defendant and/or its affiliates and agents from violating the TCPA, 47

18   U.S.C. § 227(b)(1), by placing non-emergency calls to any cellular telephone number using an

19   artificial or prerecorded voice without prior express written consent of the receiving party.

20                            VII. SECOND CLAIM FOR RELIEF
     (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(c)—Telemarketing)
21             On Behalf of Plaintiff Chapman and the DNC Class—Plaintiff Barnes)
22          60.     Plaintiff Barnes realleges and incorporates by reference each and every allegation
23   set forth in the preceding paragraphs.
24          61.     Defendant and/or its affiliates or agents violated the TCPA, 47 U.S.C. § 227(c);
25   47 C.F.R. § 64.1200(c)(2), by placing multiple unsolicited telemarketing calls within a 12-month
26   period to the residential (including residential cellular) telephone numbers of Plaintiff Chapman
27   and members of the DNC Class even though those numbers had been listed on the NDNCR for
28   at least 31 days.
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 1          62.     Plaintiff Barnes and members of that Class seek an award of at least $500 in
 2   damages for each such violation. 47 U.S.C. § 227(c)(5).
 3          63.     Plaintiff Barnes and members of that Class are entitled to and seek an award of up
 4   to $1,500 in damages for each such violation. 47 U.S.C. § 227(c)(5).
 5          64.     Plaintiff Barnes and members of that Class are also entitled to and do seek an
 6   injunction prohibiting Defendant and/or its affiliates and agents from violating the TCPA, 47
 7   U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing calls to any
 8   telephone numbers listed on the NDNCR for at least 31 days.
 9
10                                  VIII.     PRAYER FOR RELIEF
11          WHEREFORE, Plaintiffs, on their own behalf and on behalf of all members of the
12   Classes, pray for judgment against Defendant as follows:
13          A.      Certification of the proposed Classes;
14          B.      Appointment of Plaintiffs as representative of their respective Classes;
15          C.      Appointment of the undersigned counsel as counsel for the Classes;
16          D.      A declaration that actions complained of herein violate the TCPA;
17          E.      An order enjoining Defendant and its affiliates, agents and related entities from
18   engaging in the conduct set forth herein;
19          F.      An award to Plaintiffs and their respective Classes of damages, as allowed by law;
20          G.      Leave to amend this Complaint to conform to the evidence presented at trial; and
21          H.      Orders granting such other and further relief as the Court deems necessary, just,
22   and proper.
23                                      IX.    DEMAND FOR JURY
24          Plaintiff demand a trial by jury for all issues so triable.
25                                 X.       SIGNATURE ATTESTATION
26          The CM/ECF user filing this paper attests that concurrence in its filing has been obtained
27   from each of its other signatories.
28   ///
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 1   RESPECTFULLY SUBMITTED AND DATED this 25th day of July, 2022.
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